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                    15
                                              UNITED STATES DISTRICT COURT
                    16                       CENTRAL DISTRICT OF CALIFORNIA
                    17
                          EVA YUK WAH MA WONG,                    CASE NO:
                    18    individually and as personal
                          representative of the ESTATE OF         COMPLAINT for:
                    19
                          RONALD WONG; BENJAMIN
                    20    WONG, individually; and the ESTATE        1. NEGLIGENCE –
                          OF RONALD WONG,                              PERSONAL INJURIES AND
                    21
                                                                       WRONGFUL DEATH
                    22                        Plaintiffs,
                                 v.                                 2. SURVIVAL ACTION
                    23

                    24    CARNIVAL CORPORATION & PLC,             DEMAND FOR JURY TRIAL
                          a Bermuda Corporation; and PRINCESS
                    25
                          CRUISE LINES, LTD., a Bermuda
                    26    Corporation,
                    27
                                              Defendants.
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                     1         PLAINTIFFS EVA YUK WAH MA WONG (“MRS. WONG”), individually,
                     2   and surviving spouse of RONALD WONG (“MR. WONG”), deceased, and as
                     3   personal representative of the ESTATE OF RONALD WONG, and BENJAMIN
                     4   WONG (“BEN”), in his individual capacity as surviving son of RONALD WONG
                     5   (collectively hereinafter “PLAINTIFFS”) bring this action for personal injuries and
                     6   wrongful death against DEFENDANTS PRINCESS CRUISE LINES, LTD.
                     7   (“PRINCESS”), and CARNIVAL CORPORATION & PLC (“CARNIVAL”),
                     8   (collectively hereinafter “DEFENDANTS”).
                     9   I.    INTRODUCTION
                    10         1.    When MR. and MRS. WONG boarded the Grand Princess cruise ship in
                    11   San Francisco, California on February 21, 2020, neither of them had any knowledge,
                    12   notice, and/or warning that they were boarding a cruise ship armed with a super virus
                    13   known to be highly contagious, kill at-risk populations quickly, and have no cure—
                    14   COVID-19.
                    15         2.    Yet DEFENDANTS CARNIVAL and PRINCESS, and/or each of them
                    16   and their managing agents, including Dr. Grant Tarling, the Chief Medical Officer,
                    17   knew or should have known that a prior passenger on-board the vessel was infected
                    18   with COVID-19 and had been experiencing severe respiratory symptoms for the past
                    19   seven (7) days while traveling on the Grand Princess, resulting in the entire ship and
                    20   crew being exposed to and potential carriers of the highly contagious and deathly
                    21   virus, all immediately prior to the Grand Princess docking in San Francisco,
                    22   California, to off-load some passengers and pick up others on February 21, 2020.
                    23         3.    Yet DEFENDANTS, and/or each of them, negligently, wrongfully,
                    24   unlawfully, and/or with a willful and/or conscious disregard for the safety of its
                    25   passengers, invited and boarded MR. and MRS. WONG onto the deathly cruise ship
                    26   armed with COVID-19, without providing any notice, warning, or precautionary
                    27   medical apparatuses, such as masks, and without imposing any safety precautions,
                    28   such as social distancing, and/or imposing quarantine on prior exposed passengers
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                     1   and/or crew. DEFENDANTS, and/or each of them, also negligently, wrongfully,
                     2   unlawfully, and/or with a willful and/or conscious disregard for the safety of its
                     3   passengers, failed to disinfect, decontaminate, and/or sanitize the exposed surfaces of
                     4   the cruise ship prior to boarding MR. and MRS. WONG and failed to administer any
                     5   COVID-19 tests to any prior passengers and/or crew, leaving all new passengers,
                     6   including MR. and MRS. WONG, completely, unknowingly, and inescapably
                     7   exposed to the deathly virus.
                     8         4.     DEFENDANTS, and/or each of them, had knowledge of the infectious
                     9   and deathly danger posed by the Coronavirus before they allowed new passengers to
                    10   board the Grand Princess in San Francisco on February 21, 2020, joining them with
                    11   62 prior passengers and 1,000 crew members who had traveled with and been in close
                    12   contact with the infected passenger for at least seven (7) days prior.
                    13         5.     In fact, another of DEFENDANTS’ cruise ships, the Diamond Princess,
                    14   had been under quarantine at Yokohama’s port near Tokyo since February 3 rd, and as
                    15   of February 20, 2020, world news was reporting that two passengers on that cruise
                    16   ship had died from COVID-19. “Both of the passengers died about a week after tests
                    17   confirmed they were infected with the respiratory virus.” And further, “[a] total of 634
                    18   people from the Diamond Princess have tested positive for COVID-19, the
                    19   Japanese agency said. More than half that number are identified as
                    20   "asymptomatic pathogen carriers," meaning that while they don't show signs of
                    21   the illness, they can still transmit the disease to others or become sick
                    22   themselves.”1 An NPR article reporting on the tragedy also stated: “When passengers
                    23   test positive for the novel coronavirus, they're taken off the Diamond Princess and
                    24   sent to local hospitals. Those diagnoses also reset the 14-day quarantine period for
                    25   their traveling partners and close contacts.”2
                    26
                    27   1
                           https://www.npr.org/sections/goatsandsoda/2020/02/20/807745305/coronavirus-2-
                    28   princess-diamond-cruise-ship-passengers-die-after-contracting-covi
       ♼                 2
                           Id.
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                     1         6.     Prior to February 21, 2020 when PLAINTIFFS WONG boarded the
                     2   Grand Princess, COVID-19 had killed over 2,000 people and there were over 75,000
                     3   cases reported worldwide.”3
                     4         7.      Dr. Tarling later reported “the company believed the virus was brought
                     5   aboard the Grand Princess by a passenger on a previous cruise” who boarded for
                     6   Mexico on February 11 and disembarked on February 21, but had reported to medical
                     7   professionals on the cruise ship that he “had fallen ill around two or three days after
                     8   boarding the ship.”4 The afflicted passenger aboard the Grand Princess sought
                     9   medical treatment from the ship’s medical center on February 20, but
                    10   DEFENDANTS, and/or each of them, took no action upon the ship’s arrival back in
                    11   San Francisco the following day.
                    12         8.     According to industry experts, commercial cruise ship companies make
                    13   money in two ways: tickets sales and on-board purchases. While tickets represent a
                    14   majority of revenue for this companies, onboard purchases account for the lion’s
                    15   share of the profit.5 Creating an obvious financial incentive for the officers, directors,
                    16   and/or managing agents of DEFENDANTS to knowingly board passengers on a cruise
                    17   ship armed with a deadly and highly contagious virus, despite having already secured
                    18   the purchase price of each passenger’s ticket.
                    19         9.     Further, Dr. Tarling knows about the virulent nature of infectious
                    20   diseases. CARNIVAL touts his 27 years of experience overseeing the health and
                    21   welfare of 12 million passengers annually and thousands of crew members aboard
                    22   CARNIVAL’S 104 cruise ships across its nine cruise lines.             Dr. Tarling is an
                    23   internationally-recognized medical expert in the cruise industry for developing and
                    24   implementing policies and procedures to protect global travelers:
                    25

                    26
                         3
                           Id.
                    27   4
                           “Cruise Ship, Floating Symbol of America’s Fear of Coronavirus, Docks in
                    28   Oakland,” The New York Times, March 9, 2020, updated March 12, 2020.
       ♼                 5
                           Id.
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                     1         Dr. Tarling is also charged with developing and implementing
                     2         research-based public health policies and procedures that protect large
                     3         populations of global travelers. His expertise is routinely called upon
                     4         by national and international health authorities to help develop
                     5         prevention and control measures to mitigate the global spread of
                     6         communicable diseases such as Zika, Ebola, MERS, Chikungunya,
                     7         Legionella, noroviruses and novel influenza viruses.6
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                    21   II.   THE PARTIES
                    22               PLAINTIFFS
                    23         10.   Plaintiff Eva Yuk Wah Ma Wong (“MRS. WONG”) is and was at all
                    24   times relevant to this Complaint, a resident of the City and County of San Francisco,
                    25   California. MRS. WONG was a ticketed passenger who boarded the Grand Princess
                    26   cruise on February 21, 2020 in San Francisco. MRS. WONG is also the surviving
                    27
                         6
                    28    https://www.princess.com/news/notices_and_advisories/notices/dr-grant-tarling-
       ♼                 chief-medical-officer.html
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                     1   spouse of MR. WONG, and is a proper personal representative and heir pursuant to
                     2   California law and admiralty law. By virtue of the premises, MRS. WONG is lawfully
                     3   entitled to initiate this Complaint in her individual capacity, as well as on behalf of
                     4   the ESTATE OF RONALD WONG in pursuit of a survival action.
                     5         11.     Plaintiff Ronald Wong (“MR. WONG”), now deceased, was at all
                     6   times relevant to this Complaint a resident of the City and County of San Francisco,
                     7   California. MR. WONG was a ticketed passenger who boarded the Grand Princess
                     8   cruise on February 21, 2020 in San Francisco.
                     9         12.     Plaintiff Benjamin Wong (“BENJAMIN”) is and was at all times
                    10   relevant to this Complaint, a resident of the City and County of San Francisco,
                    11   California.   BENJAMIN is the son of MR. WONG, and is a proper personal
                    12   representative and heir pursuant to California law and admiralty law.
                    13                 DEFENDANTS
                    14         13.     Defendant Carnival Corporation (“CARNIVAL”) was incorporated in
                    15   Panama in 1972. Carnival plc was incorporated in Wales, United Kingdom in 2000.
                    16   As described by CARNIVAL in a filing with the Securities and Exchange
                    17   Commission, “Carnival Corporation and Carnival plc operate a dual listed company
                    18   (‘DLC’), whereby the businesses of Carnival Corporation and Carnival plc are
                    19   combined through a number of contracts and through provisions in Carnival
                    20   Corporation’s Articles of Incorporation and By-Laws and Carnival plcs’s Articles of
                    21   Association.” Carnival Corporation and Carnival plc operate as a single economic
                    22   enterprise, and share a senior executive management team and identical Boards of
                    23   Directors. The dual-listed company has its headquarters in Miami, Florida. This
                    24   lawsuit is being brought against the dual-listed company and/or Carnival Corporation
                    25   (collectively, “CARNIVAL”).
                    26         14.     Defendant Princess Cruise Lines LTD (“PRINCESS”) is incorporated
                    27   in Bermuda, with its headquarters in Santa Clarita, California. Santa Clarita serves as
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                     1   the nerve center for PRINCESS, and all major decisions regarding operation of its
                     2   cruise ships are made at the headquarters in Santa Clarita, California.
                     3            15.   At all times hereto, PRINCESS and CARNIVAL advertised, marketed,
                     4   sold, and profited (directly or indirectly) from, and controlled and operated the cruise
                     5   ship Grand Princess.
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                    18                  ALTER EGO, AGENCY & JOINT VENTURE
                    19            16.   DEFENDANTS PRINCESS and CARNIVAL are alter egos of each
                    20   other such that the corporate form should be disregarded.
                    21            17.   CARNIVAL has ownership and control over PRINCESS, which is
                    22   organized under Holland America Group within Carnival Corporation & plc.
                    23   CARNIVAL has claimed in filings with the Securities and Exchange Commission
                    24   (SEC) that it wholly owns PRINCESS as a subsidiary.
                    25            18.   CARNIVAL and PRINCESS share the same Board of Directors and
                    26   almost all of the same executive officers, and appear to use the same assets.
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       ♼                 7
                             Princess Cruises headquarters in Santa Clarita, California.
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                     1          19.    CARNIVAL serves as the parent company for PRINCESS, which it calls
                     2   a “Carnival Brand” cruise line and which CARNIVAL refers to as “part of our
                     3   growing business.” CARNIVAL exerts control over PRINCESS’s business and day-
                     4   to-day operations.
                     5          20.    CARNIVAL and PRINCESS are collectively referred to herein as
                     6   “CARNIVAL” or “DEFENDANTS.”
                     7          21.    At all times herein mentioned, DEFENDANTS, and/or each of them,
                     8   hereinabove, were the agents, servants, employees, partners, aiders and abettors, co-
                     9   conspirators, and/or joint venturers of each of the other DEFENDANTS named herein
                    10   and were at all times operating and acting within the purpose and scope of said agency,
                    11   service, employment, partnership, enterprise, conspiracy, and/or joint venture, and
                    12   each DEFENDANT has ratified and approved the acts of each of the remaining
                    13   DEFENDANTS. Each of the DEFENDANTS aided and abetted, encouraged, and
                    14   rendered substantial assistance to the other DEFENDANTS in breaching their
                    15   obligations to PLAINTIFFS, as alleged herein. In taking action to aid and abet and
                    16   substantially assist the commission of these wrongful acts and other wrongdoings
                    17   complained of, as alleged herein, each of the DEFENDANTS acted with an awareness
                    18   of his/her/its primary wrongdoing and realized that his/her/its conduct would
                    19   substantially assist the accomplishment of the wrongful conduct, wrongful goals, and
                    20   wrongdoing.
                    21   III.   JURISDICTION
                    22          22.    This Court has Admiralty subject matter jurisdiction pursuant to 28
                    23   U.S.C. section 1333 as the wrongdoing alleged in this Complaint arose, occurred,
                    24   and/or took effect on navigable waters and bears a significant relationship to
                    25   traditional maritime activity, i.e. it occurred while DEFENDANTS, who engage in the
                    26   commerce of luxury cruises, boarded new passengers on the Grand Princess cruise
                    27   ship docked in the San Francisco Bay.
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                     1         23.    This Court also has diversity of citizenship jurisdiction pursuant to 28
                     2   U.S.C. section 1332(a)(1) because PLAINTIFFS’ claims exceed $75,000 and because
                     3   PLAINTIFFS are and were at all times relevant hereto citizens of a state different from
                     4   DEFENDANTS.
                     5         24.    This Court has personal jurisdiction over DEFENDANTS, as they
                     6   conduct substantial business in California. Defendant CARNIVAL, by and through its
                     7   subsidiary, PRINCESS, markets cruise vacations to California residents. Both
                     8   maintain a headquarters in Santa Clarita, California, and employ thousands of
                     9   California residents to work there. Moreover, the claims asserted herein arise from
                    10   DEFENDANTS’ contacts with California. Each of these facts independently, but also
                    11   all of these facts together, are sufficient to render the exercise of jurisdiction by this
                    12   Court over DEFENDANTS, and/or each of them, permissible under traditional
                    13   notions of fair play and substantial justice.
                    14         25.    Additionally, each of the DEFENDANTS, purports to be a party to the
                    15   Passage Contract, which purports to name the Central District of California as proper
                    16   venue for actions against DEFENDANTS. PLAINTIFFS, however, do not concede
                    17   the enforceability of the Passage Contract. Nevertheless, by naming this District as a
                    18   proper venue, DEFENDANTS have consented to personal jurisdiction in this District.
                    19         26.    This Court has in rem jurisdiction over the Grand Princess which has
                    20   been docked or moored in the San Francisco Bay almost continuously from March 4,
                    21   2020 through April 7, 2020. Both passenger cruises at issue herein were roundtrips
                    22   that departed from and ultimately arrived in San Francisco. The Grand Princess was
                    23   last known to be in a holding pattern off the coast of Southern California.8
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                         8
                    28    https://www.vesselfinder.com/vessels/GRAND-PRINCESS-IMO-9104005-MMSI-
       ♼                 310327000. (Last accessed April 30. 2020).
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                     1   IV.   VENUE
                     2         27.    Venue in the Central District of California is proper under 28 U.S.C.
                     3   section 1391 because DEFENDANTS are deemed to reside in any judicial district in
                     4   which they are subject to personal jurisdiction.
                     5         28.    Without conceding the enforceability of the Passage Contract,
                     6   PLAINTIFFS acknowledge that DEFENDANTS included in the Passage Contract a
                     7   venue selection provision designating the United States District Court for the Central
                     8   District of California in Los Angeles as a proper venue for this action.
                     9   V.    FACTUAL ALLEGATIONS
                    10         A.     THE CRUISE SHIP INDUSTRY RAKES IN MASSIVE PROFITS
                    11                BY SELLING LUXURY TRAVEL TO AMERICANS
                    12         29.    Today’s CARNIVAL grew out of Carnival Cruise Lines, a cruise line
                    13   formed in 1972 by Israeli business magnate Ted Arison. Operations began with a
                    14   single cruise ship, and rapidly expanded on the strength of Arison’s vision of
                    15   rebranding and marketing luxury cruises to a vacation option accessible to the general
                    16   public. Arison gained full control of the company in 1974. By 1987, Carnival evolved
                    17   into the industry leader and went public.
                    18         30.    Expansion continued thereafter, spurred on by major acquisitions.
                    19   CARNIVAL acquired the Holland America Line in 1989, Seabourn in 1992, top
                    20   European cruise line Costa Cruises in 1997, and the Cunard Line in 1998. Then in
                    21   April 2003, CARNIVAL merged with P&O Princess Cruises plc, thereby bringing
                    22   within the CARNIVAL corporate ambit the additional Princess, P&O Cruises, P&O
                    23   Cruises Australia, AIDA Cruises, Ocean Village, and Swan Hellenic cruise lines.
                    24         31.    CARNIVAL operates “nine cruise lines with over 102 ships, carr[ies] 12
                    25   million passengers annually, and the corporation represents 50% of the global cruise
                    26   market.” 9
                    27
                         9
                    28    https://www.carnivalcorp.com/corporate-information/mission-and-history (last
       ♼                 accessed May 4, 2020).
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                     1         32.    As CARNIVAL itself acknowledges, this extraordinary degree of
                     2   consolidation is not readily apparent. As stated on its website, “Carnival’s
                     3   unprecedented rise to the world’s largest cruise operator can be attributed to its ability
                     4   to manage brand autonomy, with each major cruise line maintaining separate sales,
                     5   marketing and reservation offices, as well as through the industry’s most aggressive
                     6   shipbuilding program.”10
                     7         33.    The scope of CARNIVAL’s operations is massive. CARNIVAL bills
                     8   itself as “the world’s largest leisure travel company” and trumpets its status as “among
                     9   the most profitable and financially strong in the cruise and vacation industries.” In
                    10   Fiscal Year 2019 CARNIVAL’s operations reaped over $20.8 billion in revenue and
                    11   generated nearly $3 billion in profit.11
                    12         34.    As of 2018, “[t]he global market comprise[d] dozens of cruise lines and
                    13   more than 250 ships. But 3 players - Carnival Corporation & PLC, Royal Caribbean
                    14   Cruises LTD, and Norwegian Cruise Line HLD - control[led] roughly 75% of the
                    15   market.”12 “These companies, which preside over an empire of subsidiary cruise lines,
                    16   collectively raked in $34.2B in revenue in 2018.”
                    17         35.    “In 2011, three-quarters of the nearly 16 million cruise bookings
                    18   worldwide were made from the United States, according to the industry group Cruise
                    19   Lines International Association, which represents 26 cruise lines, including the
                    20   world's largest, Carnival and Royal Caribbean.”13
                    21         36.    And “[i]n 2018, 28.5m [million] passengers — the bulk of them from
                    22   America — spent more than $46B [billion] on cruises globally.”14
                    23

                    24

                    25
                         10
                    26      Id.
                         11
                            Carnival Corp. & plc 2019 Annual Report, p.1.
                    27   12
                            https://thehustle.co/the-economics-of-cruise-ships/
                         13
                    28      https://www.cnn.com/2013/02/13/opinion/walker-cruise-ships/index.html
       ♼                 14
                            https://thehustle.co/the-economics-of-cruise-ships/
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                     1         B.     DEFENDANTS KNEW COVID-19 WAS HIGHLY
                     2                CONTAGIOUS AND DEADLY BEFORE BOARDING THE
                                      GRAND PRINCESS IN SAN FRANCISCO
                     3
                               37.    The cruise industry has a well-documented problem with the spread of
                     4
                         disease on board cruise ships, so much so that the United States Centers for Disease
                     5
                         Control and Prevention (CDC) maintains a Vessel Sanitation Program to inspect
                     6
                         cruise ships and report and track onboard viral outbreaks.
                     7
                               38.    Since 1994, PRINCESS cruise ships have hosted over 50 outbreaks of
                     8
                         norovirus and other pathogens, and other CARNIVAL lines have experienced
                     9
                         countless others.
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                    22
                               39.    CARNIVAL’S website also touts its Health, Environmental, Safety,
                    23
                         Security, and Sustainability Policy, highlighting that CARNIVAL and its operating
                    24
                         lines (including PRINCESS) “are committed to protecting the health, safety, and
                    25
                         security of our passengers, guests, employees, and all others working on our behalf,
                    26
                    27

                    28   15
                           Grand Princess – The Atrium - https://www.cruisecritic.com/photos/ships/grand-
       ♼                 princess-54/member-8/36093/ (Last accessed May 15, 2020).
 LAW OFFICES
COTCHETT, PITRE &        COMPLAINT                                                                        11
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                     1   thereby promoting an organization that always strives to be free of injuries, illness and
                     2   loss.” 16
                     3          40.   CARNIVAL confirms this commitment on its website, offering the
                     4   following assurance on a page bearing the caption, “Carnival’s Commitment to Guest
                     5   and Crew Health”:
                     6                Carnival Cruise Line’s highest responsibilities include the
                     7                health and safety of our guests and crew. Coronavirus is a
                     8                fluid situation and we continue to work closely with public
                     9                health experts and the Cruise Lines International Association
                    10                (CLIA), to monitor, screen and implement best practices to
                    11                protect the health of our guests and crew as it relates to
                    12                COVID-19 (coronavirus). Our monitoring, screening and
                    13                operational protocols are designed to be flexible so that we
                    14                can effectively adapt to changes as they occur.17
                    15          41.   CARNIVAL and/or PRINCESS also employ Dr. Tarling, who is touted
                    16   as an expert on policies and procedures to prevent the spread of communicable
                    17   diseases on CARNIVAL’S more than 100 cruise ships. Dr. Tarling is responsible for
                    18   public health concerns for CARNIVAL and PRINCESS as Group Senior Vice
                    19   President and Chief Medical Officer, to serve in that capacity for both companies. He
                    20   is a medical doctor and according to the website, “earned an Executive Master of
                    21   Public Health degree in Health Care Management and Policy, and Global Health
                    22   certification from [UCLA].” In addition, in “2016, he was elected for a second, four-
                    23   year term as Chair and Chair-Elect of the Cruise Ship Medicine Section of the
                    24   American College of Emergency Physicians. In that role, he vigorously championed
                    25   best-practice healthcare guidelines that have been adopted by the Cruise Line
                    26   International Association (CLIA) whose members represent 95% of the world’s cruise
                    27   16
                            https://www.carnivalplc.com/static-files/0b8327aa-c3be-4022-a1a5-a6dad7123af7
                    28   (last accessed May 1, 2020).
       ♼                 17
                            https://www.carnival.com/health-and-sailing-updates (last accessed May 1, 2020).
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COTCHETT, PITRE &        COMPLAINT                                                                             12
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                     1   lines.” According to Dr. Tarling, a ship’s medical facility is not a first-aid clinic.
                     2   “Each ship’s modern medical center has a physical infrastructure that allows provision
                     3   of a broad range of both ambulatory care services and inpatient hospital services,
                     4   including an ICU. It has a self-contained pharmacy, lab and imaging, which is staffed
                     5   by a small physician-led clinical team.” He oversees about 800 clinical staff working
                     6   at sea who are supported by about 50 staff in the U.S. between Los Angeles, Miami,
                     7   and Seattle.18
                     8         42.    The Coronavirus now known as SARS-CoV-2 is believed to have first
                     9   appeared in Wuhan, Hubei Province within the People’s Republic of China in
                    10   December 2019.
                    11         43.    National Geographic reported on February 18, 2020, that “[f]or most
                    12   patients, COVID-19 begins and ends in their lungs, because like the flu, coronaviruses
                    13   are respiratory diseases.”19 And labeled respiratory failure as “the defining signature
                    14   of severe cases”.
                    15         44.    CNN reported on February 19, 2020, regarding the results of the most
                    16   extensive and comprehensive study of the Coronavirus performed by China’s CDC
                    17   and published in The Chinese Journal of Epidemiology two days prior. “It found that
                    18   the novel coronavirus is more contagious than the related viruses which cause
                    19   SARS and MERS. While the resulting disease, Covid-19, is not as fatal on a case-
                    20   by-case basis, its greater spread has already led to more deaths than its related
                    21   coronaviruses.”20 “Because the Covid-19 virus has infected far more people than
                    22   the viruses that caused SARS and MERS, the number of people who have died
                    23   from it so far has already overtaken both viruses.”21
                    24
                         18
                            https://americanhealthcareleader.com/2018/how-grant-tarling-navigates-
                    25
                         healthcare-for-8-million-travelers/ (last accessed May 14, 2020).
                         19
                    26      https://www.nationalgeographic.com/science/2020/02/here-is-what-coronavirus-
                         does-to-the-body/#close
                    27   20
                            https://www.cnn.com/2020/02/19/health/coronavirus-china-sars-mers-intl-
                    28   hnk/index.html
       ♼                 21
                            Id.
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COTCHETT, PITRE &        COMPLAINT                                                                           13
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                     1         45.    On February 20, 2020, NPR reported “[m]ore than 75,000 COVID-19
                     2   cases have been confirmed worldwide, according to a disease-tracking dashboard
                     3   created by the Johns Hopkins Whiting School of Engineering. The virus has killed
                     4   more than 2,000 people … .”22 The same article reported that “[t]he number of
                     5   confirmed COVID-19 cases in South Korea has doubled in just 24 hours, to 104 from
                     6   51” according to the Korea Centers for Disease Control and Prevention.
                     7         46.    Any lingering doubt about the direct and specific danger the coronavirus
                     8   posed to cruise ships went away with the highly publicized outbreak aboard the
                     9   Diamond Princess, another of DEFENDANTS’ cruise ships several weeks earlier. The
                    10   Diamond Princess had been under quarantine in Yokohama, Japan since February 3,
                    11   2020. As of February 20, it was reported that two passengers on that cruise ship had
                    12   died from COVID-19. “Both of the passengers died about a week after tests confirmed
                    13   they were infected with the respiratory virus.” At the time of that reporting, “[a] total
                    14   of 634 people from the Diamond Princess have tested positive for COVID-19, and
                    15   more than half that number are identified as "asymptomatic pathogen carriers,"
                    16   meaning that while they don't show signs of the illness, they can still transmit the
                    17   disease to others or become sick themselves.”23 An NPR article reporting on the
                    18   tragedy also stated: “When passengers test positive for the novel coronavirus, they're
                    19   taken off the Diamond Princess and sent to local hospitals. Those diagnoses also reset
                    20   the 14-day quarantine period for their traveling partners and close contacts.”24
                    21         47.    Accordingly, the United States CDC issued the following Media
                    22   Statement regarding the Diamond Princess outbreak on February 18, 2020:
                    23                CDC believes the rate of new reports of positives new on
                    24                board, especially among those without symptoms, highlights
                    25   22
                            https://www.npr.org/sections/goatsandsoda/2020/02/20/807745305/coronavirus-2-
                    26   princess-diamond-cruise-ship-passengers-die-after-contracting-covi
                         23
                            https://www.npr.org/sections/goatsandsoda/2020/02/20/807745305/coronavirus-2-
                    27
                         princess-diamond-cruise-ship-passengers-die-after-contracting-covi
                         24
                    28      https://www.npr.org/sections/goatsandsoda/2020/02/20/807745305/coronavirus-2-
       ♼                 princess-diamond-cruise-ship-passengers-die-after-contracting-covi
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COTCHETT, PITRE &        COMPLAINT                                                                             14
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                     1                 the high burden of infection on the ship and the potential for
                     2                 ongoing risk.
                     3          48.    Nevertheless, DEFENDANTS, and/or each of them, disregarded this
                     4   crucial information when knowingly faced with another likely COVID-19 positive
                     5   passenger on a different cruise ship—the Grand Princess.
                     6          C.     DEFENDANTS WERE MADE AWARE THAT A PRIOR
                     7                 PASSENGER ON THE GRAND PRINCESS HAD LIKELY
                                       ARMED THE SHIP WITH A HIGHLY CONTAGIOUS AND
                     8                 DEADLY VIRUS PRIOR TO BOARDING NEW PASSENGERS
                     9                 IN SAN FRANCISCO

                    10          49.    Prior to February 21, 2020, the Grand Princess had been on a roundtrip
                    11   cruise from San Francisco to Mexico. The Mexico cruise departed from San Francisco
                    12   on February 11, 2020, and was scheduled to return to San Francisco on February 21,
                    13   2020, when the Grand Princess was scheduled to off-load some passengers and on-
                    14   board some new passengers, then set sail to Hawaii.
                    15          50.    Dr. Tarling admitted that a passenger aboard the earlier Grand Princess
                    16   Mexico cruise fell ill within “two or three days” of boarding the ship, and that the
                    17   timing of when the passenger’s symptoms first appeared indicates he brought the
                    18   Coronavirus onboard when he boarded the ship on February 11, 2020. 25 Dr. Tarling
                    19   added that while onboard, the passenger had a “six-to-seven day history of symptoms
                    20   of acute respiratory illness.” 26
                    21          51.    As a result, “The U.S. Coast Guard is now investigating whether Carnival
                    22   violated a federal law that requires ships approaching U.S. ports to report outbreaks
                    23   of illness to the Coast Guard and, in certain cases, to the CDC. The rules are specific,
                    24   defining a fever as a temperature of 100.4 degrees Fahrenheit or higher, as well as
                    25

                    26
                    27   25
                            “Cruise Ship, Floating Symbol of America’s Fear of Coronavirus, Docks in
                    28   Oakland,” The New York Times, March 9, 2020, updated March 12, 2020.
       ♼
 LAW OFFICES
                         26
                            “Cruises Set Sail Knowing the Risk,” The Wall Street Journal, May 2, 2020.
COTCHETT, PITRE &        COMPLAINT                                                                            15
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                     1   anyone who reports feeling feverish.”27 That CARNIVAL passenger died in Placer
                     2   County, California on March 4, 2020.
                     3              52.   On February 20, 2020, the infected passenger aboard the Grand Princess
                     4   visited that cruise ship’s medical center to seek treatment for symptoms including
                     5   “acute respiratory distress.” Medical personnel aboard the ship, as well as responsible
                     6   executives at CARNIVAL, PRINCESS, and TARLINE, knew or should have known
                     7   that the symptoms were consistent with those suffered by passengers infected with
                     8   SARS-Cov-2 aboard the Diamond Princess and others infected by the Coronavirus
                     9   around the world, as reported widely in medical circles and the popular press.
                    10              53.   Given the highly contagious nature of SARS-CoV-2, as well as the
                    11   previous experience of the outbreak then in progress aboard the Diamond Princess,
                    12   the revelation that a passenger on the Grand Princess was exhibiting identical
                    13   symptoms created in CARNIVAL, PRINCESS and Dr. Tarling an immediate duty to
                    14   warn other passengers, isolate the passengers and the general public from an
                    15   immediate threat to their health, suspend all activities of the cruise ship until such time
                    16   as it could be properly disinfected and decontaminated, and report the illness to a U.S.
                    17   Quarantine Station overseen by the CDC’s Division of Global Migration and
                    18   Quarantine (DGMQ) pursuant to 42 CFR § 71.21. The DGMQ maintains a U.S.
                    19   Quarantine Station in San Francisco, the destination of the Grand Princess.
                    20   Nevertheless, CARNIVAL, PRINCESS and Dr. Tarling disregarded their duty and
                    21   did none of those things.
                    22              54.   Instead, on February 21, 2020, DEFENDANTS, and/or each of them,
                    23   decided to disregard the deadly nature of the Grand Princess and its foreseeably lethal
                    24   environment for passengers due to the cruise ship’s exposed surfaces, prior
                    25   passengers, and crew members being armed with COVID-19, and pursue substantial
                    26   profits by boarding new passengers on the Grand Princess for a voyage to Hawaii.
                    27

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       ♼                 27
 LAW OFFICES
                              Id.
COTCHETT, PITRE &        COMPLAINT                                                                               16
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                     1   Notably, 62 of the original passengers from the Mexico cruise, and over 1,000 crew
                     2   members, remained aboard for the voyage to Hawaii.
                     3         D.     DESPITE KNOWING THE GRAND PRINCESS WAS ARMED
                                      WITH A HIGHLY CONTAGIOUS AND DEADLY VIRUS,
                     4
                                      DEFENDANTS BOARDED THE SHIP AND FAILED TO TAKE
                     5                ANY SAFETY PRECAUTIONS OR WARN PASSENGERS
                     6         55.    DEFENDANTS, and/or each of them, failed to take any safety
                     7   precautions prior to and/or at the time of boarding passengers on the Hawaii-bound
                     8   roundtrip Grand Princess cruise.
                     9         56.    DEFENDANTS did not take measures to disinfect, sanitize, and/or
                    10   decontaminate the Grand Princess ship and/or exposed surfaces prior to boarding
                    11   passengers, including PLAINTIFFS, in San Francisco.
                    12         57.    DEFENDANTS, and/or each of them, failed to warn, advise, and/or
                    13   provide notice to the Hawaii-bound passengers prior to and/or at the time of boarding
                    14   in San Francisco on February 21, 2020, that an ill passenger suffering from symptoms
                    15   consistent with Covid-19 had been aboard.
                    16         58.    DEFENDANTS, and/or each of them, failed to subject any of the 62
                    17   passengers or 1,000 crew members, who had traveled on the Grand Princess with the
                    18   infected passenger for approximately seven days prior and who were planning to
                    19   continue their trip to Hawaii with the new passengers, to any additional or enhanced
                    20   medical or health screening procedures, including a COVID-19 test.
                    21         59.    DEFENDANTS, and/or each of them, failed to provide passengers,
                    22   including PLAINTIFFS, with masks at the time of boarding in San Francisco and/or
                    23   failed to implement any safety procedures for socializing on the cruise ship during
                    24   travel, including social distancing and/or staying six feet apart from other unknown
                    25   travelers.
                    26         60.    DEFENDANTS, and/or each of them, proceeded as if everything was
                    27   normal and nothing had changed, and the Grand Princess departed as scheduled on
                    28   February 21, 2020.
       ♼
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                     1         E.     DEFENDANTS DID THIS BECAUSE THEY MAKE THE
                     2                LION’S SHARE OF THEIR PROFITS FROM ON-BOARD
                                      PASSENGER PURCHASES – NOT TICKET SALES
                     3

                     4         61.    As of 2018, “[t]he global market comprise[d] dozens of cruise lines and
                     5   more than 250 ships. But 3 players — Carnival Corporation & PLC, Royal Caribbean
                     6   Cruises LTD, and Norweigan Cruise Line HLD — control[led] roughly 75% of the
                     7   market.”28
                     8         62.    “These companies, which preside over an empire of subsidiary cruise
                     9   lines, collectively raked in $34.2B in revenue in 2018. Cruise ships make this money
                    10   through two channels: Ticket sales and onboard purchases (e.g., alcoholic drinks,
                    11   casino gambling, spa treatments, art auctions, and shore excursions), which
                    12   passengers pay for with pre-loaded cruise cards and chip-equipped wristbands.”29
                    13         63.    “On average, tickets account for 62% of total revenue and onboard
                    14   purchases make up the remaining 38%. Though tickets represent a majority of
                    15   revenue, onboard purchases account for the lion’s share of the profit, according to
                    16   several experts.”30
                    17                As a high fixed-cost business, a cruise ship relies on getting as many
                    18                passengers as possible on the ship — even at fire-sale rates. The major
                                      cruise lines will often fill each ship to 105%-110% capacity, then
                    19                upsell its captive consumers on additional services.
                    20                “They have mastered the ability to get their hands into people’s
                    21
                                      pockets and to take out every last dollar,” says Ross A. Klein, a
                                      professor at Memorial University of Newfoundland, who has closely
                    22                studied the cruise ship industry. “They can almost give a cabin away for
                    23                free and still make a profit.”
                                      …
                    24
                                      On average, a passenger will spend $1,060 ($151/day) on a ticket and
                    25                $650 ($92/day) on onboard purchases. After subtracting overhead costs,
                    26
                    27   28
                            https://thehustle.co/the-economics-of-cruise-ships/
                         29
                    28      Id.
       ♼                 30
                            Id.
 LAW OFFICES
COTCHETT, PITRE &        COMPLAINT                                                                          18
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                     1                    a ship will make out with roughly $291 in net profit per passenger, per
                     2                    cruise.

                     3
                                          That means that at full capacity, a single ship like Royal Caribbean’s
                                          Symphony of the Seas might make $9.8m in revenue ($1.7m of which
                     4                    is profit) during one 7-day excursion. That’s $239k in profit per day
                     5
                                          at sea.31

                     6              64.   This creates an obvious financial incentive for DEFENDANTS, and/or
                     7   each of them, to knowingly board passengers on a cruise ship armed with a deadly and
                     8   highly contagious virus, despite having already secured the purchase price of each
                     9   passenger’s ticket. And that is what happened here.
                    10              F.    DEFENDANTS FAILED TO WARN OR ADVISE PASSENGERS
                    11
                                          OF THE VIRUS BEING ON-BOARD THE GRAND PRINCESS
                                          UNTIL MARCH 4, 2020—OVER A WEEK AFTER BOARDING
                    12

                    13              65.   MRS. WONG and MR. WONG, along with the rest of their family, were
                    14   first alerted to the virus being aboard the Grand Princess on March 4, 2020 from a
                    15   “Guest Health Advisory – Coronavirus” letter from Dr. Tarling. The letter notified

                    16   passengers of potential exposure to the virus and announced that the Ensenada stop

                    17   scheduled for March 5 was cancelled so the ship could return directly to San

                    18   Francisco. No independent findings were reported. Both MR. and MRS. WONG were
                    19   in fear about being quarantined on the ship because their cabin had no windows and
                    20   they understood the air they were breathing was circulating through the ship’s central
                    21   ventilation system. No mention was made of the overlapping passengers and crew
                    22   from the Mexico cruise.

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       ♼                 31
                              Id.
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COTCHETT, PITRE &        COMPLAINT                                                                            19
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                    13           66.   On March 4, 2020, California Governor Gavin Newsom declared a state
                    14   of emergency regarding the Covid-19 outbreak. In an attempt to manage the crisis the
                    15   State of California refused to allow the Grand Princess to return to port as planned in
                    16   San Francisco.
                    17           67.   The cruise ship remained in a holding pattern for several days of political
                    18   negotiations that included input from the federal government in Washington before it
                    19   finally was permitted to land in the Port of Oakland on March 9, 2020.
                    20           68.   Passengers were allowed to disembark in stages, beginning on March 9,
                    21   2020.     MRS. WONG and Mr. Wong disembarked on March 10, and others
                    22   disembarked thereafter. Passengers with symptoms were sent to Asilomar State
                    23   Beach and Conference Grounds for treatment, while those without symptoms went to
                    24   Travis Air Force Base, an hour north in Solano County, for further isolation in
                    25   quarantine.
                    26
                    27
                         32
                    28       https://thehill.com/changing-america/well-being/prevention-cures/486807-couple-
       ♼                 still-on-grand-princess-cruise-files-1 (Last accessed May 5, 2020).
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COTCHETT, PITRE &        COMPLAINT                                                                             20
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                     9         G.     DEFENDANTS UNLOAD PASSENGERS TO DIE ONSHORE
                    10         69.    MRS. WONG and her husband long-planned to cruise to Hawaii aboard
                    11   the Grand Princess to celebrate Mr. Wong’s 64th birthday. The Wong’s had been
                    12   married for thirty-four (34) years and have one son, Benjamin. Also joining them
                    13   aboard the Grand Princess were MRS. WONG’s sister and brother-in-law and Mr.
                    14   Wong’s brother, mother, sister and brother-in-law.
                    15         70.    MRS. WONG booked travel for her and her husband online though
                    16   Sacramento-based travel agent Zoe’s Cruise & Tours on December 20, 2019, for a
                    17   total fare of $2,392.16.
                    18         71.    The February 23, 2020 birthday celebration was noted on the invoice. Per
                    19   the PRINCESS Booking Confirmation, which bore the slogan “Come back new,” MR.
                    20   and MRS. WONG were immediately subject to an aggressive regime of cancellation
                    21   penalties under which they would forfeit $400 from the very moment they purchased
                    22   the tickets, 50% of the purchase price one week later, 75% as of January 24, 2020, and
                    23   100% as of February 7, 2020, two weeks from departure.
                    24         72.    Neither MRS. WONG nor MR. WONG was visibly infected or ill when
                    25   they disembarked in Oakland on March 10, 2020. They were therefore sent to Travis
                    26
                    27
                         33
                    28     https://news.sky.com/story/coronavirus-21-people-stranded-on-grand-princess-
       ♼                 cruise-ship-test-positive-for-covid-19-11951315 (Last accessed May 5, 2020).
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COTCHETT, PITRE &        COMPLAINT                                                                          21
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                     1   Air Force Base for further quarantine, along with the other passengers not exhibiting
                     2   symptoms.
                     3         73.    In the time since the Grand Princess departed from San Francisco bound
                     4   for Hawaii on February 21, 2020, landed in Oakland, and were allowed to disembark
                     5   for Travis Air Force Base on March 10, 2020, MRS. WONG and Mr. Wong both
                     6   tested positive for Covid-19.
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                    18         74.    On March 15, 2020, while still in quarantine at Travis Air Force Base,
                    19   MR. WONG fell ill with a high fever. The following day, March 16, 2020, the fever
                    20   persisted, and he began coughing. At that time he was transferred to Kaiser
                    21   Permanente’s Vallejo Medical Center hospital in Vallejo, California. MRS. WONG
                    22   never saw MR. WONG alive again after that date.
                    23         75.    That same day, March 16, 2020, MRS. WONG herself tested positive for
                    24   Covid-19.
                    25

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                         34
                    28     https://www.mercurynews.com/2020/03/09/photos-coronavirus-stricken-grand-
       ♼                 princess-arrives-at-port-of-oakland/ (Last accessed May 5, 2020)
 LAW OFFICES
COTCHETT, PITRE &        COMPLAINT                                                                         22
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                     1            76.   On March 21, 2020, MRS. WONG was transferred to a hotel in San
                     2   Carlos, California for further quarantine, over an hour away from the hospital in
                     3   Vallejo where MR. WONG was undergoing treatment.
                     4            77.   On March 24, 2020, MR. WONG died at Kaiser Permanente’s Vallejo
                     5   Medical Center. MRS. WONG was not permitted to see him in his final hours.
                     6            78.   On March 25, 2020, MRS. WONG was released from the hotel in San
                     7   Carlos and allowed to return home.
                     8            79.   As of the date of this filing, MRS. WONG is still recovering from her
                     9   Covid-19 symptoms and confined to her home in San Francisco.
                    10            80.   On May 2, 2020, The Wall Street Journal reported that according to the
                    11   U.S. Department of Health and Human Services, five people on the Hawaii Grand
                    12   Princess cruise had died and 131 passengers tested positive for Covid-19. County
                    13   officials in California as of that date had traced five Covid-19 cases to the prior Grand
                    14   Princess Mexico cruise, including two deaths.35
                    15            81.   As a direct and proximate result of DEFENDANTS’ negligence and
                    16   gross negligence, MR. WONG has died, and MRS. WONG has been infected with
                    17   SARS-CoV-2, requiring medical treatment.
                    18            82.   In addition, PLAINTIFFS were traumatized by the fear of developing
                    19   Covid-19. They were confined to the Grand Princess as the virus attacked and infected
                    20   passengers throughout the ship, and thereafter were confined at Travis Air Force Base
                    21   and other locations in California as they underwent treatment and isolation in
                    22   quarantine.
                    23            H.    CARNIVAL IS NOW THE TARGET OF CONGRESSIONAL
                    24                  INVESTIGATION

                    25            83.   The history of CARNIVALS’ disregard of the health and welfare of their
                    26   passengers has not gone unnoticed as Congress looks into how so many people fell ill
                    27   aboard cruise ships in the present crisis and the industry’s failure to contain the spread
                    28
       ♼
 LAW OFFICES
                         35
                              “Cruises Set Sail Knowing the Risk,” The Wall Street Journal, May 2, 2020.
COTCHETT, PITRE &        COMPLAINT                                                                              23
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                     1   in time. On May 1, 2020, the Chair of the U.S. House of Representatives’ Committee
                     2   on Transportation and Infrastructure Peter DeFazio and the Chair of the House
                     3   Subcommittee on Coast Guard and Maritime Transportation Sean Patrick Maloney
                     4   summarized this history in a records request letter to CARNIVAL formally opening
                     5   an inquiry.36 In the words of the DeFazio-Maloney letter:
                     6               Norovirus and other communicable diseases are not new
                                     public health threats to the cruise line industry. In 2010,
                     7               the World Health Organization (WHO) identified
                                     norovirus and influenza outbreaks as “the major public
                     8               health challenges for the cruise industry.” This
                                     assessment was made an entire decade before COVID-19
                     9               emerged on the world’s stage. . . .
                    10               Cruise ships are a fertile breeding ground for infectious
                                     diseases due to their environmental conditions and
                    11               physical structure. “Cruise ships passengers spend
                                     prolonged periods in close proximity to other passengers
                    12               and crew, facilitating the rapid spread of highly infectious
                                     agents such as influenza,” the Journal of Travel Medicine
                    13               reported in 2018.Today, the CDC warns: “Cruise ships
                                     are often settings for outbreaks of infectious diseases
                    14               because of their closed environment, contact between
                                     travelers from many countries, and crew transfers
                    15               between ships.”
                    16         84.   Nevertheless, CARNIVAL, PRINCESS and Dr. Tarling disregarded this
                    17   crucial information and continued their operations as though nothing had changed,
                    18   and despite their vaunted commitment to help aboard their ships, continued marketing
                    19   their cruises largely as before. As the DeFazio-Maloney letter noted:
                    20               As of April 23, 2020, none of the front facing web-pages
                                     from any of Carnival’s nine affiliated cruise lines , –
                    21               Carnival Cruise Line, Princess Cruises, Holland America
                                     Line,15 Seabourn, P&O Cruises (Australia), Costa
                    22               Cruises, AIDA Cruises, P&O Cruises (UK), and Cunard
                                     – mentioned a single word about COVID-19, coronavirus,
                    23               or the precautions these cruise lines intend to take once
                                     the CDC lifts its “No Sail Order” for cruise lines. Instead,
                    24               these sites are advertising various images of couples
                                     dining and dancing, musicians entertaining, and lines of
                    25               children holding hands and playing.
                    26
                    27   36
                           Letter to Mr. Arnold W. Donald, President and CEO, Carnival Corporation &
                    28   PLC, from the Committee on Transportation and Infrastructure, U.S. House of
       ♼                 Representatives, Washington, D.C. (May 1, 2020).
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                    11   VI.   NOTICE
                    12         85.    Section 15(A)(i) of the Passage Contract purports to require that
                    13   claimants provide notice to PRINCESS and CARNIVAL of any potential claims
                    14   within six months from the date of the underlying harm before commencing litigation.
                    15   PLAINTIFFS are resolute that this egregiously unfair provision is unenforceable.
                    16   Nevertheless, PLAINTIFFS have complied with this requirement by providing written
                    17   notice to DEFENDANTS’ by overnight mail on May 21, 2020.
                    18   VII. CLAIMS
                    19                                     FIRST CLAIM
                    20                                     NEGLIGENCE
                    21                                (Against Each Defendant)
                    22         86.    PLAINTIFFS incorporate herein by reference all of the allegations in this
                    23   complaint.
                    24         87.    DEFENDANTS, and/or each of them, negligently, carelessly, recklessly,
                    25   and/or unlawfully boarded the Grand Princess docked in San Francisco on February
                    26
                    27   37
                           https://www.mercurynews.com/2020/03/10/watch-drone-footage-of-the-
                    28   coronavirus-stricken-grand-princess-cruise-ship-as-passengers-disembark-at-the-
       ♼                 port-of-oakland/ (Last accessed May 5, 2020)/
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                     1   21, 2020 and departed therefrom for Hawaii, which served as the legal cause of
                     2   injuries and damages herein suffered by PLAINTIFFS.
                     3         88.     CARNIVAL and PRINCESS, and/or each of them, participate in the
                     4   marketplace as common carriers. Tickets for its cruises are marketed to the general
                     5   public. In addition to a vacation, as part of the contractual relationship reached
                     6   between DEFENDANTS and their customers, passengers aboard DEFENDANTS’
                     7   cruise ships may reasonably expect and do expect safe passage on ocean-worthy
                     8   vessels free from any known or knowable dangers or perils.
                     9         89.     Common carriers must carry passengers safely. Common carriers must
                    10   use the highest care and the vigilance of a very cautious person. They must do all that
                    11   human care, vigilance, and foresight reasonably can do under the circumstances to
                    12   avoid harm to passengers. While a common carrier does not guarantee the safety of
                    13   its passengers, it must use reasonable skill to provide everything necessary for safe
                    14   transportation, in view of the transportation used and the practical operation of the
                    15   business. DEFENDANTS, and/or each of them, failed to do so here.
                    16         90.     DEFENDANTS, and/or each of them, negligently, wrongfully,
                    17   unlawfully, and/or recklessly invited and boarded MR. and MRS. WONG onto the
                    18   deathly cruise ship armed with COVID-19, without providing any notice, warning, or
                    19   precautionary medical apparatuses, such as masks, and without imposing any safety
                    20   precautions, such as social distancing, and/or imposing quarantine on prior exposed
                    21   passengers and/or crew. DEFENDANTS, and/or each of them, negligently,
                    22   wrongfully,    unlawfully,      and/or   recklessly   boarded   passengers,   including
                    23   PLAINTIFFS MR. and MRS. WONG, without disinfecting, decontaminating, and/or
                    24   sanitizing the exposed surfaces of the cruise ship and/or administering any COVID-
                    25   19 tests or screening to any prior passengers and/or crew, leaving all new passengers,
                    26   including MR. and MRS.           WONG, completely, unknowingly, and inescapably
                    27   exposed to the deathly virus.
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                     1         91.    DEFENDANTS, and/or each of them, had knowledge of the infectious
                     2   and deathly danger posed by the Coronavirus before they allowed new passengers to
                     3   board the Grand Princess in San Francisco on February 21, 2020, joining them with
                     4   62 prior passengers and 1,000 crew members who had traveled with and been in close
                     5   contact with the infected passenger for at least seven (7) days prior.
                     6         92.    As a direct and legal result of the wrongful conduct of DEFENDANTS,
                     7   and/or each of them, hereinabove alleged, MR. WONG died from the Coronavirus
                     8   and MRS. WONG was infected.
                     9         93.    As a further direct and legal result of the wrongful conduct of
                    10   DEFENDANTS, and/or each of them, hereinabove alleged, Plaintiff MRS. WONG
                    11   was injured in her health, strength, and activity, sustained injuries to her body and
                    12   mind, all of which have caused Plaintiff great physical, mental, emotional, and
                    13   nervous pain and suffering. Plaintiff is informed and believes, and upon such
                    14   information and belief alleges, that such injuries have resulted in debilitating injuries,
                    15   all to her general damage in a sum according to proof.
                    16         94.    As a further direct and legal result of the wrongful conduct of
                    17   DEFENDANTS, and/or each of them, hereinabove alleged, Plaintiff MRS. WONG
                    18   was required to, and continues to, employ physicians and other health care providers
                    19   to examine, treat and care for her injuries, and have incurred, and will continue to
                    20   incur, medical and incidental expenses for such examination, treatment rehabilitation
                    21   and care in an amount according to proof.
                    22         95.    As a further direct and legal result of the wrongful conduct of
                    23   DEFENDANTS, and/or each of them, hereinabove alleged, Plaintiff MRS. WONG
                    24   was gainfully employed, and/or capable of gainful employment through her education,
                    25   training, and/or experience. By further reason of DEFENDANTS’ wrongful conduct
                    26   hereinabove alleged, Plaintiff MRS. WONG suffered a loss of income and/or a loss
                    27   of earning capacity in an amount according to proof.
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                     1         96.    As a further direct and legal result of the wrongful conduct of
                     2   DEFENDANTS, and/or each of them, hereinabove alleged, Plaintiff MRS. WONG
                     3   contemporaneously perceived her husband, Plaintiff MR. WONG dying from
                     4   COVID-19, and thereby suffered extreme emotional distress, including nervousness,
                     5   grief, anxiety, worry, mortification, shock, indignity, apprehension, terror or ordeal,
                     6   all in an amount according to proof.
                     7         97.    As a further direct and legal result of the wrongful conduct of
                     8   DEFENDANTS, and/or each of them, hereinabove alleged, PLAINTIFFS MRS.
                     9   WONG and BEN suffered and continue to suffer loss of love, society, solace,
                    10   companionship, comfort, care, assistance, protection, affection, society, and moral
                    11   support, all in an amount to be determined.
                    12         98.    As a further direct and legal result of the wrongful conduct of
                    13   DEFENDANTS, and/or each of them, hereinabove alleged, Plaintiff MRS. WONG
                    14   incurred funeral and burial expenses, all in an amount to be determined.
                    15         99.    In doing the wrongful acts as hereinabove alleged, DEFENDANTS,
                    16   and/or each of them, acted with oppression, fraud, and malice and/or with conscious
                    17   and/or willful disregard for the health, safety and general welfare and rights of
                    18   PLAINTIFFS. Such actions were done with malice, oppression and/or fraud and were
                    19   and are despicable, shocking and offensive and entitle PLAINTIFFS to an award of
                    20   punitive damages against DEFENDANTS in an amount to be determined at trial.
                    21   DEFENDANTS’ failure to heed the warnings of the CDC and to apply the knowledge
                    22   gained from the outbreak aboard the Diamond Princess, decision to proceed with the
                    23   Grand Princess cruise to Hawaii without enacting heightened health and medical
                    24   screenings for all passengers and crew, without disinfecting or decontaminating the
                    25   ship, and without warning PLAINTIFFS and passengers of the perils of boarding a
                    26   ship armed with Coronavirus is an extreme departure from what a reasonable cruise
                    27   ship owner and operator would do and reflects callousness and an extreme, willful,
                    28   and outrageous disregard for the health and safety of its passengers. In all of these
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                     1   decisions, DEFENDANTS were driven by profit, and chose not to expend resources
                     2   for the safety and health of passengers, but rather keep them ignorant and in the dark
                     3   so they would proceed to enjoy their vacation as planned and spend money on onboard
                     4   purchases, where DEFEDANTS, and/or each of them, make their largest profits.
                     5                                    SECOND CLAIM
                     6                 NEGLIGENCE - SURVIVOR CAUSE OF ACTION
                     7                                (Against Each Defendant)
                     8         100. PLAINTIFFS hereby re-allege and incorporate herein by reference each
                     9   and every allegation contained in the previous paragraphs as though fully set forth
                    10   herein.
                    11         101. Prior to his death, the foregoing cause of action arose in MR. WONG’s
                    12   favor. Since his death, MRS. WONG has served as representative for the ESTATE
                    13   OF MR. WONG and is authorized as successor in interest with respect to his interest
                    14   in the property that was damaged, lost, or destroyed in this tragic incident, to pursue
                    15   any and all legal claims for damages related thereto, and to recover damages for
                    16   expenses incurred related to medical and/or emergency services related to this
                    17   incident.
                    18         102. At all time prior to this incident, DEFENDANTS, and/or each of them,
                    19   negligently, carelessly, recklessly, and/or unlawfully acted and/or failed to act as
                    20   hereinabove set forth, so as to serve as the legal cause of death to MR. WONG.
                    21         103. As a direct and legal result of the wrongful conduct of DEFENDANTS,
                    22   and/or each of them, hereinabove set forth, prior to MR. WONG’s death, expenses
                    23   were incurred for emergency and medical services.
                    24         104. As a further direct and legal result of the wrongful conduct of
                    25   DEFENDANTS, and/or each of them, hereinabove set forth, MR. WONG also
                    26   endured great emotional distress, pain and suffering from the COVID-19 virus and
                    27   from the fear of contracting and/or dying from the virus before showing symptoms,
                    28   all before eventually dying approximately four weeks later.
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                     1 VIII.        PRAYER FOR RELIEF AND DEMAND FOR JURY
                     2            WHEREFORE, PLAINTIFFS, on behalf of themselves and all persons
                     3   similarly situated, respectfully prays that this Court grant the following relief:
                     4            1.   An injunction suspending operation of DEFENDANTS’ cruise lines until
                     5   such time as they are able to operate in a manner consistent with the safety, health,
                     6   and well-being of passengers and crew as well as individuals on shore, requiring
                     7   DEFENDANTS to notify PLAINTIFFS of any instance of any passenger on a prior
                     8   cruise suffering from any communicable disease; requiring DEFENDANTS to cancel
                     9   any planned cruise where there exists a known or knowable risk of an outbreak of
                    10   communicable disease; and requiring DEFENDANTS to disclose any and all known
                    11   or reasonably knowable risks to which future passengers will be exposed in boarding
                    12   DEFENDANTS’ cruise ships, including the heightened risk of disease transmission
                    13   intrinsic to traveling aboard a cruise ship;
                    14            2.   For compensatory and general damages in an amount according to proof;
                    15            3.   For past and future medical, incidental, and service expenses according to
                    16   proof;
                    17            4.   For pre- and post-judgment interest on all damages as allowed by the law;
                    18            5.   For costs of suit incurred herein;
                    19            6.   For attorney fees under existing law;
                    20            7.   For an award of punitive damages; and
                    21            8.   For such other and further relief as the Court may deem just and proper.
                    22   ///
                    23   ///
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                     1                                   JURY DEMAND
                     2       Plaintiff further demands trial by jury on all issues.
                     3

                     4   Dated: May 27, 2020                 COTCHETT, PITRE & McCARTHY,
                                                             LLP
                     5

                     6
                                                             By: /s/ Nanci E. Nishimura
                     7                                            NANCI E. NISHIMURA
                     8                                             ALISON E. CORDOVA
                     9

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                    11
                         Dated: May 27, 2020                 ANDERLINI & McSWEENEY LLP
                    12

                    13
                                                             By: /s/ P. Terry Anderlini
                    14                                           P. TERRY ANDERLINI
                                                                  CAROLINE A. REITZ
                    15

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                                                               Attorneys for Plaintiffs
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